         Case 2:12-cv-00859-LMA Document 1278 Filed 06/08/20 Page 1 of 1



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA

LASHAWN JONES, ET AL.                                                CIVIL ACTION

VERSUS                                                                    No. 12-859

MARLIN GUSMAN, ET AL.                                                    SECTION I

                                       ORDER

         Considering the motion 1 by the United States and the plaintiffs for a status

conference and an extension of time to respond to Orleans Parish Sheriff Marlin N.

Gusman’s motion 2 to terminate the Consent Decree, pursuant to 18 U.S.C. § 3626(b),

and to terminate the Stipulated Order for Appointment of Independent Jail

Compliance Director,

         IT IS ORDERED that the request for a status conference is GRANTED. A

video conference will be held on JUNE 10, 2020 at 9:30 A.M. with all parties

participating. The Court will provide counsel with instructions that will enable them

to participate in the conference.

         New Orleans, Louisiana, June 8, 2020.



                                         _______________________________________
                                                 LANCE M. AFRICK
                                         UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 1277.
2   R. Doc. No. 1274.
